REBEKAH C. SCHOONMAKER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Schoonmaker v. CommissionerDocket No. 92022.United States Board of Tax Appeals39 B.T.A. 496; 1939 BTA LEXIS 1027; February 24, 1939, Promulgated *1027  In the taxable year petitioner made an irrevocable transfer to a trust, for the benefit of her grandson, of certain bonds upon which there was accrued but unmatured interest at the time of transfer.  There was no matured interest due on the bonds at the time of the gift.  Petitioner made her income tax returns on the cash basis.  Held, there was no constructive receipt of the unmatured interest by petitioner and hence it is not taxable to her as income.  Joseph G. Robinson, Esq., for the petitioner.  Paul E. Waring, Esq., for the respondent.  BLACK *497  The Commissioner has determined against petitioner a deficiency in income tax of $5,850.87 for the year 1935.  This deficiency results from certain adjustments which he made in petitioner's income tax return for the year 1935 by which he added to the income reported by petitioner on her return a net amount of $13,642.50.  Concerning these adjustments made by the Commissioner, the petitioner assigns two errors, as follows: (a) Respondent erroneously included in the net income of petitioner the amount of $12,048.86, representing unmatured interest on bonds conveyed by petitioner as a gift to*1028  an irrevocable trust, although petitioner returned her income on a cash receipts and disbursements basis.  (b) Respondent erroneously disallowed a deduction of $1,525.10, representing a portion of commissions paid by petitioner to her agent for collection of income.  Petitioner no longer presses assignment of error (b) and agrees to so much of the deficiency as results therefrom.  Assignment of error (a) raises the only issue which is left for us to decide.  FINDINGS OF FACT.  The facts have all been stipulated and we adopt the stipulation, together with the exhibits attached thereto, as our findings of fact.  The following resume of these facts will be sufficient for this opinion: Petitioner is an individual, residing in Pittsburgh, Pennsylvania.  For the calendar year 1935, she filed her income tax return on the collector of internal revenue for the twenty-third collection district of Pennsylvania, at Pittsburgh, Pennsylvania.  Petitioner kept her books and filed her income tax return on the cash receipts and disbursements basis.  On or about October 31, 1934, petitioner, as donor, by an irrevocable deed of trust conveyed certain securities to R. Elmore Earp and Gretchen*1029  Schoonmaker Earp, as trustees, to hold the same and apply the income therefrom for the use, benefit, maintenance, and education of petitioner's grandson, James Schoonmaker Earp.  Pursuant to the reserved power contained in said trust agreement, petitioner, on or about October 8, 1935, appointed the Peoples-Pittsburgh Trust Co. of Pittsburgh, Pennsylvania, as cotrustee under the aforesaid deed of trust.  In said trust agreement, petitioner, as donor, reserved unto herself the right to add additional securities to the corpus of the trust therein created, and pursuant thereto, on June 26, 1935, petitioner irrevocably transferred to the trustees as additions to the corpus of the trust certain coupon bonds.  These bonds contained certain unmatured interest coupons attached thereto at the time they were so transferred.  *498  On June 26, 1935, the date on which said bonds were transferred to the trustees and made a part of the corpus of the trust, interest calculated thereon on unmatured coupons from the dates on which the last interest coupons became due and payable to June 26, 1935, amounted to $12,048.86.  Petitioner did not receive any portion of this amount of $12,048.86. *1030  Respondent, in determining petitioner's income for the calendar year 1935, added the aforesaid amount of $12,048.86 to that shown on the return filed by petitioner, and thus included the same as taxable income to petitioner in said year.  Petitioner duly filed a gift tax return for the calendar year 1935, wherein she reported the gift of the said bonds which she had transferred to the trustees on June 26, 1935.  In determining the total amount of her gifts for the calendar year 1935 and the gift tax which she paid thereon, petitioner included the interest which had accrued on the bonds to June 26, 1935.  The trustees under the trust agreement accrued on the books of the trust, as principal, interest in the amount of $12,048.86 as of the date of the receipt of the bonds transferred to them on June 26, 1935.  If petitioner had elected to sell on June 26, 1935, the bonds listed above, instead of transferring them to the trustees under the above mentioned trust, then to the selling price there would have been added the accrued interest of $12,048.86.  In the event that the contention of petitioner as to the issue raised by the facts set forth above is sustained by the Board, *1031  then it is agreed that the deficiency in tax is $138.73.  In the event that the contention of respondent as to the issue raised by the facts above stated is sustained, then it is agreed that the deficiency in tax is $5,365.24.  OPINION.  BLACK: The precise issue raised by petitioner's assignment of error (a) has not, so far as we are advised, been passed upon by the Board or the courts.  The Commissioner has ruled upon the question in I.T. 3011 XV-2, C.B. 132 (1936).  The substance of that ruling appears in its headnote: Interest accrued on bonds prior to donation to a trust is income taxable to the settlor and not to the beneficiaries even though the settlor returns his income on the cash receipts and disbursements basis.  Petitioner points out in her brief that prior to 1934 an analogous question frequently arose in dealing with decedent's estates.  It was not unusual for a taxpayer to die owning bonds on which there was unmatured interest to the date of death.  Petitioner refers to the fact that in such a situation it was early held that such interest *499  was not taxable income to the decedent for the period up to the date of death when he was on the cash basis. *1032 Antoinette B. Held, Executrix,3 B.T.A. 408"&gt;3 B.T.A. 408; Safe Deposit &amp; Trust Co. of Baltimore v. United States,64 Ct.Cls. 697. See also Paul and Mertens, vol. 2, sec. 14.06; First National Bank of Kulm,4 B.T.A. 317"&gt;4 B.T.A. 317; and Nichols v. United States,64 Ct.Cls. 241. Petitioner points out that in the Revenue Act of 1934 Congress changed the law so as to require that there be included in the income of a decedent interest accrued on the date of death even though decedent was on the cash basis.  In other words, Congress, by this change, required the income of the decedent up until the date of his death to be computed upon the accrued basis instead of upon the cash basis.  See section 42 of the Revenue Act of 1934 and compare the same with section 42 of the Revenue Act of 1932.  In recommending this change, the Senate Committee on Finance said in its report on the 1934 Act: The courts have held that income accrued prior to the death of a decedent on the cash basis is not income to his estate, and under the present law, unless such income is taxable to the decedent, it escapes income tax altogether.  Section 42 of the House*1033  Bill was so drawn as to require the inclusion in the income-tax return for the decedent of all items of income and deductions accrued up to the date of death regardless of the fact that the decedent may have kept his books on a cash basis.  Petitioner points out that no corresponding change has been made in any revenue act which makes such accrued unmatured interest taxable to a donor who has made a gift of bonds with unmatured interest coupons attached.  Petitioner contends that there is absolutely no difference in the two situations.  Petitioner contends that, if legislation was required to tax the unmatured interest on bonds owned by a decedent on the cash basis to the legal representative of the decedent owner for the period ending with his death, likewise, legislation will be required to tax a donor who is on the cash basis with interest unmatured and uncollected at the date of the gift.  We do not agree with petitioner that there is absolutely no difference between the two situations.  We think there are some differences, and yet, for reasons which we shall presently discuss, we think that the legal consequences in so far as income taxes are concerned are the same in the*1034  two situations.  An important difference in the factual situation is that where a taxpayer dies leaving unmatured coupons attached to bonds which he owns upon which there is a certain amount of accrued interest, the event of death is involuntary.  He does not voluntarily put it out of his power to ever collect the interest.  On the other hand, where a taxpayer makes a gift inter vivos of bonds with unmatured coupons attached, upon which there is a certain amount of interest accrued but not yet due, his parting *500  with the bonds with the accrued interest thereon is purely voluntary.  Respondent lays much stress on this voluntary parting with the bonds.  From it he afgues that instead of making a gift of the bonds with the unmatured interest coupons thereto attached and therefore failing to collect the accrued interest thereon to the date of the gift, the petitioner could have sold the bonds and there would have been added to the total price received for the bonds, as such, the accrued interest of $12,048.86.  This would undoubtedly be true, and yet we do not think it proves respondent's case.  The tax consequences following a gift inter vivos of bonds with unmatured*1035  interest coupons attached are entirely different from the tax consequences of a sale of such bonds with unmatured interest coupons attached.  In the latter case the seller of the bonds receives the accrued interest in addition to the sale price of the face value of the bonds.  He actually, in effect, collects his accrued interest in cash.  In a gift inter vivos there is no realization of income.  The only way that petitioner can be taxed with the $12,048.86 here involved is under the doctrine of constructive receipt, and it is for the application of that doctrine to the facts of the instant case that respondent argues.  The fundamental basis for the doctrine of constructive receipt was stated by the United States Supreme Court in Corliss v. Bowers,281 U.S. 376"&gt;281 U.S. 376, when it said: The income that is subject to a man's unfettered command and that he is free to enjoy at his own option, may be taxed to him as his income, whether he sees fit to enjoy it or not.  A typical case of constructive receipt of interest is where the coupon on a bond has become due and payable, but is not collected.  In such a case it is clear that the interest is subject to taxpayer's*1036  unfettered command (see Nichols v. United States, supra ), and the Treasury regulations with reference to constructive receipt clearly apply.  The Treasury regulations dealing with the subject of constructive receipt are printed in the margin.1*1037 *501  It seems clear to us that the doctrine of constructive receipt, as defined in the quoted regulations and as announced by the Board and the courts in cases involving the doctrine of constructive receipt, does not embrace a situation such as we have in the instant case.  At the time the petitioner made the transfer of the bonds in question to the irrevocable trust for the use and benefit of her grandson, there were no matured interest coupons attached to the bonds which she could collect.  She had no right to demand any of the interest which had accrued to the date of gift on the unmatured coupons.  True, she could have sold the bonds, as respondent contends, instead of making the gift and in that way have collected the accrued interest, in which event she would have been taxable on income actually received, or, she might have kept the bonds until the coupons had matured and made the gift with matured interest coupons attached, in which event she would have been taxable with the matured interest under the doctrine of constructive receipt.  But she did neither of these things, and tax consequences result from what a person does and not from what he might have done.  *1038  In the instant case, what petitioner did do was to make the gift of the bonds with the unmatured coupons attached, and in such a case we do not think the doctrine of constructive receipt applies.  If Congress desires to tax as income the accrued but yet unmatured interest to a donor on the cash basis who makes a gift of bonds, it will have to amend the law as was done with respect to decedents who die the owners of bonds upon which there is accrued but unmatured interest at the time of death.  We decide assignment of error (a) in petitioner's favor.  That being the case, in accordance with the stipulation; Decision will be entered that there is a deficiency of $138.73.Footnotes1. Regulations 86 - ART. 42-2.  Income not reduced to possession. - Income which is credited to the account of or set apart for a taxpayer and which may be drawn upon by him at any time is subject to tax for the year during which so credited or set apart, although not then actually reduced to possession.  To constitute receipt in such a case the income must be credited or set apart to the taxpayer without any substantial limitation or restriction as to the time or manner of payment or condition upon which payment is to be made, and must be made available to him so that it may be drawn at any time, and its receipt brought within his own control and disposition.  * * * ART. 42-3.  Examples of constructive receipt.↩ - If interest coupons have matured and are payable, but have not been cashed, such interest, though not collected when due and payable, shall be included in gross income for the year during which the coupons mature, unless it can be shown that there are no funds available for payment of the interest during such year.  The interest shall be included in gross income even though the coupons are exchanged for other property instead of eventually being cashed.  * * * 